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 5   Attorney for Defendant
     KRISTY ANGELA SANDOVAL
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                   IN THE UNITED STATES DISTRICT COURT
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               FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                            Case No.: 11-CR-00105 OWW
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                                   Plaintiff,             STIPULATION AND ORDER TO
14                                                        CONTINUE STATUS
                                                          CONFERENCE HEARING
15   vs.
16   JOHN PAUL MARTINEZ
     KRISTY ANGELA SANDOVAL,
17
                                   Defendant,
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     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE: OLIVER
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     W. WANGER AND MICHELE THIELHORN, ASSISTANT UNITED STATES ATTORNEY:
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            COMES NOW Defendant, KRISTY ANGELA SANDOVAL by and through her
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     attorney of record, DAVID A. TORRES hereby request that the status conference hearing date
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     currently set for Monday, July 25, 2011 be continued to August 29, 2011 at 9:00 a.m., or a date
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     convenient to court and counsel.
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            This is a mutual agreement between myself, and Assistant United States Attorney
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     Michele Thielhorn. I have been informed that Assistant Federal Defender Melody Walcott is
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     currently out on medial leave for the next four weeks. There are also several issues that need to
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 1   be discussed with Ms. Walcott. I will also be out of the state to serve on active military duty
 2   from July 30, 2011 through August 20, 2011.
 3          The defendant is willing to continue excluding time through the next court appearance in
 4   that that the ends of justice in the exclusion outweigh defendant’s speedy trial rights.
 5          Based upon the foregoing, I respectfully request that this matter be continued to
 6   August 29, 2011.
 7
 8   Dated: July 21, 2011                                  /s/ David A. Torres
                                                           DAVID A. TORRES
 9                                                         Attorney for Defendant
                                                           KRISTY ANGELA SANDOVAL
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11   Dated: July 21, 2011                                  /s/Melody M. Walcott
                                                           MELODY M. WALCOTT
12                                                         Assistant Federal Defender for
                                                           JOHN PAUL MARTINEZ
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15   Dated: July 21, 2011                                  /s/ Michele Thielhorn
                                                           MICHELE THIELHORN
16                                                         Assistant U. S. Attorney
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 1                                                ORDER
 2          IT IS SO ORDERED. For the reasons set forth above, the continuance requested is
 3   granted for good cause. The court finds the end of justice outweigh the interests of the public and
 4   the defendant’s rights to a speedy trial. Therefore, time is excluded in the interest of justice
 5   pursuant to 18 U.S.C. §3161(h)(7)(A) and §3161 (h)(7)(B)(i) & (iv).
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 7   DATED: July 21, 2011                                   /s/ OLIVER W. WANGER
                                                            OLIVER W. WANGER
 8                                                          United States District Judge
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